                 IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MISSOURI
                        SOUTHWESTERN DIVISION
United States of America,                      )
                                   Plaintiff,  )
vs.                                            ) Case No. 07-5015-01-CR-SW-FJG
Brian Keith Ellefsen,                          )
                                   Defendants. )

                                         ORDER
       Pending before the Court is defendant Brian Keith Ellefson’s motion to suppress
communication between spouses (Doc. #42), filed April 11, 2008, and the government’s
response (Doc. #51), filed May 9, 2008.
       On June 30, 2008, Chief United States Magistrate James C. England entered a
report and recommendation (Doc. #67) which recommended denying the above-mentioned
motion. No objections to the report and recommendation were filed by defendant.
       The Court, after independent review of the record and applicable law, adopts and
incorporates by reference herein, the magistrate’s findings and conclusions. Therefore, the
Court finds that defendant’s motion to suppress communication between spouses (Doc.
#42), filed April 11, 2008, must be denied.
       Accordingly, it is
       ORDERED that the Chief Magistrate’s findings and conclusions are hereby adopted
and incorporated herein by reference. It is further
       ORDERED that defendant’s motion to suppress communication between spouses
(Doc. #42), filed April 11, 2008, is denied.


                                                /s/Fernando J. Gaitan, Jr.
                                                Judge Fernando J. Gaitan, Jr.
                                                Chief United States District Judge

Dated: 7/30/08
Kansas City, Missouri




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